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                7
                                                 UNITED STATES DISTRICT COURT
                8
                                                         DISTRICT OF NEVADA
                9
                     KURT WONG,                                           Case No.: 2:20-cv-02086-RFB-NJK
              10
                                    Plaintiff,
              11                                                          STIPULATION AND ORDER TO
                            v.                                            EXTEND DISCOVERY AND
              12                                                          DISPOSITIVE MOTION DEADLINES
                     WYNN LAS VEGAS, LLC, a Nevada Limited
              13     Liability Company,
                                                                          (Second Request)
              14
                                    Defendant.
              15
                             Plaintiff Kurt Wong (“Plaintiff” or “Wong”) and Defendant Wynn Las Vegas (“WLV” or
              16
                     “Defendant”), by and through their respective counsel, hereby stipulate and agree as follows:
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                             1.      On January 21, 2021, the Court entered an Order granting the Stipulated Discovery
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                     Plan and Scheduling Order submitted by the parties. ECF No. 13.
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                             2.      On June 9, 2021, the Court entered an Order granting the parties an extension of the
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                     discovery and dispositive motion as set forth in the January 21, 2021 Order. ECF No. 17.
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                             3.      This is the second request by the parties to extend the discovery and dispositive
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                     motion deadlines.
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                             4.      In this case, the parties have been working on written discovery, including
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                     Defendant’s responses to written discovery served by Plaintiff (i.e., Interrogatories and Requests for
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                     Production of Documents), and supplementing Initial Disclosures. Defendant has also served written
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                     discovery on Plaintiff (i.e., Interrogatories and Requests for Production of Documents).
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                             5.      The parties recently completed several depositions in this matter and are continuing
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                1    to work diligently to finalize remaining discovery. They are conferring about the language of a

                2    stipulated protective order so as to facilitate the production of third-party personnel information, and

                3    expect to submit the proposed stipulated protective order to the Court for approval shortly. In

                4    addition, Defendant is working to determine whether it has documentary evidence relevant to events

                5    disclosed by third-party witnesses in recent depositions.

                6            6.      Given these issues, the parties recognize they will be unable to complete outstanding

                7    discovery, particularly depositions in this case by November 1st, and are requesting an extension of

                8    the discovery deadline.

                9            7.      The parties stipulate and agree to extend the deadline for the close of discovery for

              10     thirty (30) days to allow the parties to complete the pending written discovery and conduct necessary

              11     depositions in order to fully evaluate the claims and defenses presented.

              12                   STATEMENT OF DISCOVERY THAT HAS BEEN COMPLETED

              13             On January 22, 2021, Plaintiff served his initial disclosures. On January 26, 2021,

              14     Defendant served its initial disclosures. On March 25, 2021, Plaintiff served his First Set of

              15     Interrogatories and Requests for Production of Documents on Defendant. On May 10, 2021,

              16     Defendant responded to Plaintiff’s First Set of Interrogatories and Requests for Production of

              17     Documents. Defendant also served a Supplement to Initial Disclosures on May 10, 2021. On June

              18     22, 2021, Defendant served its First Set of Interrogatories and Requests for Production of Documents

              19     on Plaintiff. On July 22, 2021, Plaintiff served his First Supplement to Initial Disclosures.

              20             On September 15, 2021, Plaintiff took the deposition of Defendant’s FRCP 30(b)(6)

              21     witness. On September 21, 2021, Plaintiff served his Second Set of Interrogatories, and Second Set

              22     of Requests for Production of Documents. On October 12, 2021, Defendant took Plaintiff’s

              23     deposition. On October 14, 2021, Defendant served subpoenas duces tecum on three non-party

              24     custodians for Plaintiff’s employment records. On October 26, 2021, Defendant served its Answers

              25     to Plaintiff’s Second Set of Interrogatories, and Responses to Plaintiff’s Second Set of Requests for

              26     Production of Documents. On October 28, 2021, Plaintiff conducted the depositions of three non-

              27     party witnesses.

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                1              STATEMENT OF DISCOVERY THAT REMAINS TO BE COMPLETED

                2             The parties have not yet completed discovery. The parties are working to finalize the

                3    language of a narrowly tailored stipulated protective order (“SPO”) that affords protection to the

                4    sensitive personnel information of certain non-party current and former employees of Defendant.

                5    The parties anticipate submitting the proposed stipulated protective order to the Court shortly for

                6    approval. The SPO will facilitate production of the protected information to Plaintiff. Additionally,

                7    the parties continue to meet and confer regarding Defendant’s responses to Plaintiff’s Interrogatories

                8    and Requests for Production, and the parties anticipate that some supplementation may occur.

                9    Further, the parties learned late last week at the depositions of three non-party witnesses that an

              10     event occurred near the time of Plaintiff’s termination that may have some relevance to this case.

              11     Defendant is determining whether it has any documentary records regarding the incident and if so,

              12     expects to disclose the same to Plaintiff. For the above stated reasons, the parties request that the

              13     discovery deadline be extended thirty (30) days from November 1, 2021 to December 1, 2021.

              14                      PROPOSED SCHEDULE FOR COMPLETING DISCOVERY

              15              The parties stipulate and agree that:

              16              1.      Discovery: The discovery period shall be extended thirty (30) days to December 1,

              17     2021. The deadline to request an additional extension to the discovery period shall be November

              18     10, 2021, twenty-one (21) days before the scheduled discovery cut-off.

              19              2.      Dispositive Motions: The parties shall have through and including December 31,

              20     2021, to file dispositive motions, which is thirty (30) days after the discovery deadline.

              21              3.      Pre-Trial Order: If no dispositive motions are filed, the Joint Pretrial Order shall

              22     be filed thirty (30) days after the date set for the filing of dispositive motions. In the event dispositive

              23     motions are filed, the date for filing the Joint Pretrial Order shall be suspended until thirty (30) days

              24     after decision on the dispositive motions or by further order of the Court.

              25     ///

              26     ///

              27     ///

              28     ///

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                1             4.   Extensions or Modifications of the Discovery Plan and Scheduling Order: In
                                                 26-3
                2    accordance with Local Rule 26-4, a stipulation or motion for modification or extension of this

                3    discovery plan and scheduling order and any deadline contained herein, must be made not later than

                4    twenty-one (21) days before the subject deadline.

                5             This stipulation and order is sought in good faith and not for the purpose of delay.

                6             Dated this 1st day of November, 2021.

                7      KEMP & KEMP                                           JACKSON LEWIS P.C.
                8
                       /s/ James P. Kemp                                     /s/ Joshua A. Sliker
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                       Las Vegas, Nevada 89103                               Las Vegas, Nevada 89101
              11
                       Attorney for Plaintiff                                Attorneys for Defendant
              12
                       Kurt Wong                                             Wynn Las Vegas, LLC
              13

              14                                                    ORDER
              15                                                    IT IS SO ORDERED.
                      A stipulated protective order must be
              16      filed by November 5, 2021
              17                                                    United States Magistrate Judge
              18                                                                 November 2, 2021
                                                                    Dated:
              19
              20
                     4864-1218-0737, v. 1

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JACKSON LEWIS P.C.
    LAS VEGAS
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